              Case 1:22-cv-00221-SM Document 10 Filed 09/13/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

MARIA IDA GOBBINI,

                              Plaintiff,

        vs.                                           Case No. 1:22-cv-00221

TRUSTEES OF DARTMOUTH COLLEGE

                              Defendant.



                                           STATUS REPORT

    NOW COME the parties, by and through their undersigned counsel, and provide this status

report to the Court:

    1. The parties believe that this matter is resolved.

    2. The parties therefore do not believe it would assist the Court to receive a scheduling

proposal as contemplated by the parties’ Joint Motion to Extend Stay (Doc. 11) which was filed

on August 22, 2022.

    3. The parties mutually request that the matter not be administratively closed for lack of a

stipulation of dismissal until October 25, 2022. This will facilitate the prompt, efficient and cost-

effective resolution of this matter and will minimize the amount of time required from the Court,

its staff, and the parties.

    4. The parties also request that they be excused from filing the scheduling proposal

contemplated by the Joint Motion to Extend Stay.




                                                  1
          Case 1:22-cv-00221-SM Document 10 Filed 09/13/22 Page 2 of 2




Dated the 13th day of September, 2022.

 PLAINTIFF,                                      DEFENDANT,
 MARIA IDA GOBBINI                               TRUSTEES OF DARTMOUTH
                                                 COLLEGE

 By her attorneys,                               By its attorneys,

 /s/ Lauren Irwin                                /s/ Pierre A. Chabot
 Lauren Irwin, Esquire (NH Bar No. 10544)        Pierre A. Chabot (NH Bar No. 17606)
 Upton & Hatfield, LLP                           Devine Millimet
 10 Centre Street                                111 Amherst Street
 PO Box 1090                                     Manchester, NH 03101
 Concord, NH 03302                               Telephone: (603) 699-1000
 lirwin@uptonhatfield.com                        Facsimile: (603) 669-8547
                                                 pchabot@devinnemillimet.com
 Alan Kabat, Esquire
 Bernabei & Kabat, PLLC                          Debra Weiss Ford (NH Bar No. 2687)
 1400 16th Street, NW                            Jackson Lewis, P.C.
 Suite 500                                       100 International Drive
 Washington, D.C. 20036                          Suite 363
 kabat@bernabeipllc.com                          Portsmouth, N.H. 03801
                                                 Telephone: (603) 559-2700
                                                 Facsimile: (603) 559-2701
                                                 Debra.Ford@jacksonlewis.com




                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing Status Report to be served on all

counsel of record this day, by filing same via the Court’s ECF system.

                                                     /s/ Pierre A. Chabot
                                                     Pierre A. Chabot




                                                2
